Case 2:21-cv-06865-MWF-KES Document 3 Filed 08/25/21 Page 1 of 3 Page ID #:38
                      Case 2:21-cv-06865-MWF-KES Document 3 Filed 08/25/21 Page 2 of 3 Page ID #:39


                        1                                                              PROOF OF SERVICE
                                                                                 (CCP §§ 1013(a) and 2015.5; FRCP 5)
                        2    State of California,              )
                                                               ) ss.
                             County of Los Angeles.            )
                        3
                                         I am employed in the County of Los Angeles. I am over the age of 18 and not a party to the within action. My business address
                        4     is 790 E. Colorado Boulevard, Suite 600, Pasadena, California 91101.

                        5           On this date, I served the foregoing document described as CERTIFICATION AND NOTICE OF INTERESTED
                              PARTIES on the interested parties in this action by placing same in a sealed envelope, addressed as follows:
                        6                                                          SEE ATTATCHED SERVICE LIST

                        7         (BY MAIL) - I caused such envelope(s) with postage thereon fully prepaid to be placed in the United States mail in Pasadena, California
                                  to be served on the parties as indicated above. I am “readily familiar” with the firm’s practice of collection and processing correspondence
                        8         for mailing. Under that practice, it would be deposited with the U.S. Postal Service on that same day with postage thereon fully prepaid
                                  at Pasadena, California in the ordinary course of business. I am aware that on motion of the party served, service is presumed invalid if
                                  postal cancellation date or postage meter date is more than one day after date of deposit for mailing in affidavit.
                        9
                                     (BY CERTIFIED MAIL) – I caused such envelope(s) with postage thereon fully prepaid via Certified Mail Return Receipt Requested
                        10           to be placed in the United States Mail in Pasadena, California.

                                     FEDERAL EXPRESS - I caused the envelope to be delivered to an authorized courier or driver authorized to receive documents with
                        11           delivery fees provided for.

                        12           (BY ELECTRONIC FILING AND/OR SERVICE) – I served a true copy, with all exhibits, electronically on designated recipients
                                     listed above.
                        13
                                     (ELECTRONIC SERVICE PER CODE CIV. PROC., § 1010.6) – By prior consent or request or as required by rules of court
                                     (Code Civ. Proc., § 1010.6 (amended Jan. 1, 2021); Code Civ. Proc., § 1013(g); Cal. Rules of Court, rule 2.251(a)).
                        14
                                     (BY PERSONAL SERVICE) - I caused such envelope(s) to be delivered by hand to the office(s) of the addressee(s).
                        15
                                     Executed on August 25, 2021 at Pasadena, California.
                        16           (STATE) - I declare under penalty of perjury under the laws of the State of California that the above is true and correct.

                        17           (FEDERAL) - I declare that I am employed in the office of a member of the bar of this court at whose direction the service was made.

                        18
                                                                                      Austin Kang
                        19                                                            akang@ccllp.law

                        20

                        21

                        22

                        23

                        24

                        25

                        26

                        27

                        28
                             23307
790 E. Colorado Boulevard
Suite 600
Pasadena, CA 91101
Phone (626) 243-1100
Fax     (626) 243-1111
                      Case 2:21-cv-06865-MWF-KES Document 3 Filed 08/25/21 Page 3 of 3 Page ID #:40


                        1                                      MARIA ARIAS VS. COUNTY OF LOS ANGELES ET AL.
                                                                           CASE NO. 21STCV27024
                        2                                                       FILE NO.23307

                                                                              SERVICE LIST
                        3

                        4            Jovan Blacknell
                                     Kellen Dams
                        5            LAW OFFICE OF J. BLACKNELL
                                     200 Corporate Pointe, Suite 495
                                     Culver City, CA 90230
                        6            T.: 310.469.9117 - F.: 310.388.3765
                                     ATTORNEY FOR PLAINTIFF,
                        7            MARIA ARIAS

                        8

                        9

                        10

                        11

                        12

                        13

                        14

                        15

                        16

                        17

                        18

                        19

                        20

                        21

                        22

                        23

                        24

                        25

                        26

                        27

                        28
                             23307
790 E. Colorado Boulevard
Suite 600
Pasadena, CA 91101
Phone (626) 243-1100
Fax     (626) 243-1111
